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6
      themselves and all others similarly situated
7
                                UNITED STATES DISTRICT COURT
8
                              CENTRAL DISTRICT OF CALIFORNIA
9
10
     JOHN ROE 1, an individual; JANE ROE 1, an CASE NO. 22-cv-00983-SSS-DFM
11   individual; JANE ROE 2 an individual; JANE
     ROE 3, an individual, JOHN ROE 2, on behalf Assigned to the Hon. Sunshine S. Sykes
12   of themselves and all others similarly situated, Complaint filed: 03-18-2022
13
                              Plaintiff,
14   vs.                                           PLAINTIFFS’ OPPOSITION TO
                                                   DEFENDANT TYLER TECHNOLOGIES’
15                                                 MOTION TO DISMISS
     THE STATE BAR OF CALIFORNIA;
16   TYLER TECHNOLOGIES, INC.; KEVAN
17   SCHWITZER; RICK RANKIN; and DOES 4 Hearing Date: September 16, 2022
     through 10, inclusive,             Time: 2:00PM
18                          Defendants. Crtm: 2
19
20
21         PLEASE TAKE NOTICE THAT PLAINTIFFS join in and incorporate by reference
22   the legal arguments made by Plaintiffs in their Opposition to Defendant Rick Rankin’s Motion
23   to Dismiss the First Amended Complaint as to the Invasion of Privacy, Negligence, and
24   Negligence per se causes of action.
25
26
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28



                                                     i
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1                         MEMORANDUM OF POINTS & AUTHORITIES
2                                              I.     FACTS
3           A. Summary of Facts
4           Sometimes things are so sensitive, that their very existence is kept a secret from the
5    public. Included in this category are State Bar investigations and confidential disciplinary
6    proceedings.
7           On or about February 24, 2022, it was announced that these confidential records housed
8    in the Odyssey Case management system within the State Bar of California’s Office of Trial
9    Counsel of the State Bar Court department had been breached on or about October 15, 2021
10   resulting in at least 322,525 confidential records publicized on a free public record search
11   website called judyrecords.com. [FAC ¶6-8].
12          “Defendant TYLER TECHNOLOGIES, INC. (“Tyler Technologies”) fictitiously sued as
13   DOE 3 is the vendor that has supplied the case management software referred to as Odyssey
14   being used by the State Bar of California. Due to a failure with the Odyssey portal, the State Bar
15   reported nonpublic records were swept up by JudyRecords.com and published.” [FAC ¶8]
16          In or about 2019, sometime after March 16, 2018, the State Bar of California intentionally
17   transferred some or all their confidential records contained in their AS 400 Case Management
18   System to a new Case Management System referred to as “Odyssey” which it purchased for

19   approximately $3 million from Tyler Technologies. The State Bar directly or indirectly through

20   Tyler Technologies intentionally decided to open its port(s) and publish all its public records

21   concerning disciplinary proceedings online, including but not limited to dockets, disciplinary

22   files, recommendations, and review department opinions. It also created a log in space called “My

23   State Bar Portal” for all members to provide confidential information in paying their annual fees.

24   Defendant, State Bar would also use this online site to upload “important communications” such

25   as confidential State Bar investigation correspondence to the internet for the State Bar member

26
     such as Jane Roe 3 to download. [FAC ¶16-17]
            The State Bar and Odyssey’s vendor, Tyler Technologies knew the system contained
27
     over 513,000 confidential complaints more than five years-old that were closed without
28
     discipline prior to the breach. [FAC ¶20]


                                                     1
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1           In or about October 2021, Kevan Schwitzer decided to make the California State Bar
2    disciplinary records part of the court records his website (JudyRecords.com) published and he
3    intentionally interfaced with the Odyssey portal set up by Tyler Technologies that contained an
4    enormous amount of confidential information from the State Bar and published some or all the
5    confidential and public disciplinary data it obtained on its website which was free and open to the
6    public to search. [FAC ¶22]
7           As a direct and proximate result of the intentional conduct by Rick Rankin, Tyler
8    Technologies, the State Bar of California, and Kevan Schwitzer (JudyRecords.com), details of
9    approximately 100 to 322,525 confidential disciplinary records or other confidential information
10   was transferred to JudyRecords.com and either all or a portion were published on
11   JudyRecords.com for about four months. [FAC ¶25]
12          Tyler Technologies has partnered with AWS to shift data to the cloud. Using low-code or
13   no-code solutions to build a program is quick but when integrating with databases or using other
14   cloud services and letting the software leave the native platform endpoint security issues arise.
15   Moreover, there was nothing in the Gannt chart or specified as to encryption of personal
16   information or installing firewalls. A portal fix is not a reasonable industry standard solution to
17   secure confidential records that are not encrypted. The State Bar of California has refused to
18   provide Plaintiffs and all Classes any specific information about the breach, when requested,

19   including but not limited to if their confidential information was breached, what information was

20   in the breach, and what next steps the individual can take to protect themselves. They have been

21   merely directed to the Data Breach release on www.Calbar.ca.gov website which does not

22   provide the information required by the Information Practices Act of 1977. [FAC ¶34-36]

23          B. Procedural History:

24          Plaintiffs filed this putative class action on March 18, 2022.Defendant Tyler

25   Technologies Inc. removed this action with consent of all defendants to federal court on or

26
     about May 13, 2022. The case was reassigned on June 29, 2022 to Judge Sykes. [Doc. 47]. The

27
     detailed procedural history is laid out in the Opposition to Rick Rankin’s motion to dismiss and
     incorporated by reference herein.
28
                                                II.    LAW


                                                     2
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1           A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the legal
2    sufficiency of the claims asserted in the complaint. (Fed. R. Civ. Proc. 12(b)(6)). See, Ashcroft
3    v. Iqbal, 556 U.S. 662, 678-79 (2009). When evaluating a Rule 12(b)(6), motion, the Court must
4    accept as true all allegations of material facts that are in the complaint and must construe all
5    inferences in the light most favorable to the non-moving party. See, Moyo v. Gomez, 32 F.3d
6    1382, 1384 (9th Cir. 1994). Rule 12(b)(6) is read in conjunction with Rule 8(a), which requires
7    only a “short and plain statement of the claim showing that the pleader is entitled to relief.” Fed.
8    R. Civ. P. 8(a)(2). Dismissal of a complaint for failure to state a claim is not proper where a
9    plaintiff has alleged “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.
10   Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff
11   pleads factual content that allows the court to draw the reasonable inference that the defendant
12   is liable for the misconduct alleged. The plausibility standard is not akin to a ‘probability
13   requirement,’ but it asks for more than a sheer possibility that a defendant has acted
14   unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 556).
15                                      III.   LEGAL ARGUMENT
16          A. Invasion of Privacy (Cal Const Art 1 § 1) Was Sufficiently Pled under FRCP
17              8(a)
18          The plaintiffs have sued alleging that their right to informational privacy was violated.

19   To state a valid cause of action that the plaintiff’s Constitutional right to information privacy

20   was violated, three elements must be alleged: (1) a legally protected privacy interest; (2) a

21   reasonable expectation of privacy; and (3) a serious invasion of the privacy interest. Hill v

22   National Collegiate Athletic Assn. (1994) 7 Cal4th 1, 35-37.

23          Defendant Tyler Technologies argues that this cause of action should be dismissed

24   because Plaintiffs have failed to allege a legally protected privacy interest pointing to para. 66.

25   (Mot. Pg. 7:13).

26
            Each of the three elements to support a cause of action for Invasion of Privacy under the
     California Constitution Article 2, section 2 was adequately alleged under FRCP 8a as follows:
27
            1. Element 1 - Legally Protected Privacy Interest
28
            Plaintiff had a legally protected privacy interest. [FAC ¶ 66]. A legally protected privacy
     interest includes “confidential” or “sensitive” information. Plaintiff alleged the information was
                                                     3
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1    confidential or sensitive information State Bar disciplinary matters about the plaintiffs which
2    included biometric data. [FAC ¶8, 12, 16, 17, 22, 25, 34-36, 66-67]
3           The State Bar Act which is codified at Cal. Bus & Prof. Code §§ 6000 to 6243 defines all
4    State Bar investigations and disciplinary matters “confidential” as a matter of law until public
5    charges are filed. (See, Cal. Bus & Prof Code § 6060.2(a), Cal. Bus. & Prof. Code § 6086.1(b),
6    Cal. Bus & Prof. Code § 6090.6, Cal. Bus. & Prof. Code § 6168, Cal. Bus & Prof. Code § 6200,
7    and Cal. Bus. & Prof. Code § 6234.
8           This concept of privacy is incorporated into the State Bar Rules of Procedure. For
9    example, State Bar Rules of Procedure, Rule 2301 and State Bar Rules of Procedure, Rule
10   2302(e)(2)(a). [FAC ¶14-15]
11          The cause of action gives adequate notice by alleging the State Bar “maintains a large
12   volume of sensitive private information, which was recently expanded to include biometric data
13   about members of the State Bar.” [¶ 12] All State Bar complaints and investigations are
14   confidential until public Notice of Disciplinary Charges are filed. Some complaints and
15   investigations never end up being prosecuted, others remain confidential through prosecution, and
16   still others become confidential after being “expunged.” [¶13].
17          Plaintiffs alleged this confidential and sensitive information was released onto the
18   internet from at least October 2021 through February 2022. [FAC ¶22, 31] As such, plaintiffs’

19   allegations that they “had a legally protected privacy interest in the 260,000 confidential records

20   released from the State Bar of California.” [ ¶ 59] It is plausible and meets the first element for

21   invasion of privacy.

22          Next, Defendant argues that the cause of action should be dismissed because “during the

23   four months that the State Bar Case Data records were available for search on

24   JudyRecords.com, only 1,034 Case Data records were actually accessed by a member of the

25   public.” (Mot. P. 7:24-26). This is irrelevant and arguable. Plaintiffs have not had an

26
     opportunity to test the database or system to determine the scope of the breach so asserting that
     1,034 is the number of records viewed by a person other than Kevan Schwitzer is not definitive.
27
     Second, page views are irrelevant because Kevan Schwitzer was able to access over 260,000
28
     records and disseminate them. It is the dissemination of the information that is the breach. No
     discovery has been open at this stage to determine how much if any ended up on the dark web
                                                     4
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1    or other incidence out there by other parties who were also able to take the information from the
2    State Bar CRM system called Odyssey. None of those evidentiary facts are required at the
3    pleading stage under FRCP 8(a). Those facts may become relevant to show extent of damage,
4    liability, or notice.
5           Also, the defendant’s argument appears to be constructed to confuse the Court.
6           The complaint clearly alleges that Kevan Schwitzer, a member of the public accessed
7    that information, and posted some of the information on JudyRecords.com. The FAC also
8    alleges that the case information was confidential, meaning that the case did not exist anywhere
9    in the public domain as such, the existence of the docket was the breach of confidential
10   information. The existence of these investigations and cases qualifies as confidential as a matter
11   of law because such are statutorily designated as confidential under the State Bar Act codified
12   in the California Business & Professions Code. The allegation is that the confidential records
13   were breached. No further detail is required under FRCP 8(a). [FAC 6-7, 12-15, 22, 31, 59, 66-
14   67]
15          Defendant Tyler Technologies cites In re Yahoo, (N.D. Cal. 2018) 7 F. Supp. 3d at 1041.
16   However, unlike Yahoo, here it is not content contained in the document that is confidential and
17   sensitive, but the existence of the document itself (the record) that was confidential and sensitive
18   in nature. As such, the pleading was adequately pled. These documents were identified as

19   confidential as a matter of law by the State of California and so designated in the State Bar Act

20   (state legislation).

21          As more fully briefed in Opposition to Motion to Dismiss filed by Rick Rankin, Zbitnoff

22   v. Nationstar Mortg., LLC, No. C 13-05221 WHA, 2014 WL 1101161, at *4 (N.D. Cal. Mar.

23   18, 2014); In re Google Assistant Privacy Litig., 457 F. Supp. 3d 797, 830 (N.D. Cal. 2020);

24   Scott–Codiga v. Cnty. of Monterey, 10–CV–05450–LHK, 2011 WL 4434812, at *7 (N.D. Cal.

25   Sept. 23, 2011); and Shapiro v. AT&T Mobility, LLC, No. 2:19-CV-8972-CBM-FFM, 2020 WL

26
     4341778 , at *3 (C.D. Cal. May 18, 2020)did not have statutorily defined as confidential records
     at issue like the State Bar disciplinary records. The first element was sufficiently alleged.
27
            2. Element 2 – Reasonable Expectation of Privacy
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1           As stated above, the second element is the reasonable expectation of privacy. The FAC
2    para. 67-68 sufficiently allege a reasonable expectation of privacy. Defendant does not assert
3    this element was not sufficiently pled.
4           3. Element 3 – Serious Invasion of Privacy
5           Second, Tyler Technologies asserts that the First Amended Complaint fails to “properly
6    plead a serious invasion of privacy” because “the nature of the incident does not rise to the level
7    of an “egregious” breach.” (Mot. P. 9).
8           The third element is a mixed question of fact and law not appropriate for a dismissal
9    under 12(b)(6). McDonald v. Aps (N.D. Cal. 2019) 385 F. Supp. 3d 1022, 1034
10          Criminal conduct is not required. See, McDonald v. Aps (N.D. Cal. 2019) 385 F. Supp.
11   3d 1022, 1036.
12          The third element was met when plaintiffs alleged that Tyler Technologies’ “conduct
13   constituted a serious invasion of privacy causing injury to the Plaintiffs and all Classes because
14   those records were confidential and/or the public access to the confidential records would be
15   highly offensive to an objective reasonable person.” [ FAC ¶¶ 38-41, 61]
16          Cal. Govt Code § 11549.3 lists various aspects any state agency must undertake in
17   controlling, maintaining, and tracking personal information it collects. This includes creating
18   policies and procedures. This section of the Government Code would not exist if the personal

19   information (“PI”) was not confidential and sensitive in nature.

20          Like the McDonald case, the plaintiffs have no access or control over the data that the

21   State Bar gathered about them. In fact, under the State Bar Act, the plaintiffs are even deprived

22   of obtaining the information that the government agency collects on them because their rights

23   under California Public Records Act were taken away. (See, Cal. Bus & Prof Code § 6060.2(a),

24   Cal. Bus. & Prof. Code § 6086.1(b), Cal. Bus & Prof. Code § 6090.6, Cal. Bus. & Prof. Code §

25   6168, Cal. Bus & Prof. Code § 6200, Cal. Bus. & Prof. Code § 6234). The fact that these

26
     records were deemed to be so confidential that the subject could not even obtain a record of it
     for themselves demonstrates that this breach was egregious. As such, the Motion to Dismiss the
27
     second cause of action for invasion of privacy by Defendant Tyler Technologies should not be
28
     dismissed. McDonald v. Aps (N.D. Cal. 2019) 385 F. Supp. 3d 1022, 1037.


                                                     6
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1           B. Invasion of Privacy Cal. Civ. Code § 1798.53 is Sufficiently Pled Under FRCP
2                8(a) as a Statutory Violation or Under Common Law
3           The FAC alleges that “Defendant [] Tyler Technologies [] intentionally (1) received
4    information, not otherwise public, (the confidential disciplinary records); and/or (2) released
5    some or all of that information which it knows or should reasonably have known was obtained
6    from personal information maintained by the State Bar of California, invading the privacy of the
7    Plaintiffs and all members of all Classes pursuant to Cal. Civ. Code § 1798.53. [FAC ¶74
8    incorporating, FAC ¶8, 12, 16, 17, 22, 25, 34-36].
9           If the fact finder determines the disclosure was intentional, then invasion of privacy
10   cause of action and penalties of $2500 in punitive damages can be awarded under the IPA
11   without first filing a claim under the California Tort Claims Act. Cal Civ. Code § 1798.53
12   provides:
13          Any person, other than an employee of the state or of a local government agency
            acting solely in his or her official capacity, who intentionally discloses
14          information, not otherwise public, which they know or should reasonably know
15          was obtained from personal information maintained by a state agency [] shall be
            subject to a civil action, for invasion of privacy, by the individual to whom the
16          information pertains.
17
            Cal Civ. Code § 1798.53
18
19          This section is part of the Information Practices Act (the Act), and is intended to
            protect one's right to privacy from indiscriminate collection and dissemination of
20          information maintained by governmental agencies. (Civil Code, §§ 1798.1,
21
            1798.3; Anti-Defamation League of B'nai B'rith v. Superior Court (1998) 67
            Cal.App.4th 1072, 1078-1079.) "The statute was designed by the Legislature to
22          prevent misuse of the increasing amount of information about citizens which
            government agencies amass in the course of their multifarious activities, the
23
            disclosure of which could be embarrassing or otherwise prejudicial to
24          individuals or organizations." (Anti-Defamation League of B'nai B'rith, at p.
            1079.)
25
26          Davis v. Sacramento River Cats Baseball Club (Sep. 19, 2019, C086840) ___
            Cal.App.3d ___ [pp. 9-10] [bold added].
27
28          Here, Plaintiff alleged that the State Bar disciplinary matters and investigations were
     maintained by a state agency – the State Bar. The records at issue contained personal
     information (were confidential State Bar disciplinary records) which identified the witness or
                                                     7
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1    State Bar member at issue. [FAC ¶6-8]The act to put these records on a port that could be
2    accessed by others on the internet was made by Tyler Technologies which Tyler knew
3    contained confidential records maintained by the State Bar. [FAC ¶16-21] Tyler uses AWS.
4    [FAC ¶33-34] Finally, Tyler Technologies is not a state agency, but it is alleged they allowed
5    the Odyssey system to disseminate these confidential records. [FAC ¶ 8]
6           Alternatively, the FAC sufficiently alleges common law invasion of privacy claim:
7    “Public disclosure of these private facts (the confidential disciplinary records) would be
8    offensive and objectionable to the reasonable person and were not a legitimate public concern”
9    which harmed the plaintiffs. [FAC ¶ 76-78] “The elements of this tort are ‘(1) public disclosure
10   (2) of a private fact (3) which would be offensive and objectionable to the reasonable person
11   and (4) which is not of legitimate public concern.’” Moreno v. Hanford Sentinel, Inc. (2009)
12   172 Cal.App.4th 1125, 1129–1130
13          Based on both reasons, the Court should not dismiss this cause of action against Tyler
14   Technologies.
15          C. Antitrust Violation of the Sherman Act § 2 Was Sufficiently Pled under FRCP
16             8(a)
17          Defendant Tyler Technologies argues that both antitrust claims should be dismissed
18   because “The FAC utterly fails to explain why Tyler, a software vendor to the public sector,

19   would have any reason whatsoever to conspire against members of the California bar.” (Mot.

20   Pg. 10). The pleader is not required to detail out any facts why Tyler would want to conspire

21   with the State Bar. Of course, wanting to obfuscate and downplay any glitches in its software

22   would be financial incentive enough to create such an agreement. A violation of the Sherman

23   Act § 2 was adequately pled in the FAC para. 81-105. 15 USC § 2.

24          The U.S. Supreme Court “granted certiorari to address the proper standard for pleading

25   an antitrust conspiracy through allegations of parallel conduct.” Bell Atl. Corp. v.

26
     Twombly (2007) 550 U.S. 544, 553. It concluded that some facts should support the cause of
     action but there was no heightened pleading standard and FRCP 8 was the proper standard.
27
     Plaintiff sufficiently and plausibly alleged a cause of action to support an antitrust violation.
28
     Alleging why (or motive) is not an element.
            The elements to sufficiently allege a violation of Section 2 of the Sherman Act are:
                                                     8
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1           Section 2 of the Sherman Act imposes liability on "[e]very person who shall
2           monopolize, or attempt to monopolize, or combine or conspire with any other
            person or persons, to monopolize any part of the trade or commerce among the
3           several States, or with foreign nations." 15 U.S.C. § 2. For a Section
4
            2 monopolization claim, a plaintiff must establish (1) possession of monopoly
            power by defendant in a relevant market, (2) predatory conduct, and (3) causal
5           antitrust injury. MetroNet Servs. Corp. v. Qwest Corp.,383 F.3d 1124, 1130 (9th
            Cir. 2004). A conspiracy to monopolize claim requires (1) the existence of a
6
            combination or conspiracy to monopolize, (2) an overt act in furtherance of the
7           conspiracy, (3) the specific intent to monopolize, and (4) causal antitrust
            injury. Paladin Assoc., Inc. v. Montana Power Co.,328 F.3d 1145, 1158 (9th Cir.
8
            2003). And an attempted monopolization claim requires (1) specific intent to
9           control prices or destroy competition, (2) predatory or anticompetitive conduct, (3)
            a dangerous probability of success, and (4) causal antitrust injury. McGlinchy v.
10
            Shell Chem. Co.,845 F.2d 802, 811 (9th Cir. 1988).
11
            Manwin Licensing International S.A.R.L. v. ICM Registry, LLC (C.D. Cal., Aug.
12          14, 2012, 2:11-cv-09514-PSG-(JCG)) [pp. 1]
13
            1. Conspiracy to Monopolize
14
                   a. The Existence of a Combination or Conspiracy to Monopolize
15
            A conspiracy was alleged in para. 91, 92, and 94 of the FAC between the State Bar and
16
     Tyler Technologies. “After receiving notice that 260,000 confidential disciplinary records were
17
     publicized on www.JudyRecords.com, the Board of the State Bar failed to notify the California
18
     Attorney General or the 260,000 members and complainants in violation of state law. Instead,
19
     the Board of the State Bar of California decided to leave the complainants and members under
20
     investigation to be castigated by the wiles of the internet and worked with, conspired, partnered,
21
     joined, permitted, or acted in concert with Tyler Technologies and Kevan Schwitzer
22
     (JudyRecords.com) to try to obfuscate and minimize what happened rather than use any of the
23
     powers at its disposal that would invoke oversight by a politically accountable official,
24
     including but not limited to, failing to report the breach to the California Attorney General as
25
     required by California law.” [FAC ¶ 91-92]
26
            The FAC alleges, “Defendant Tyler Technologies is a $1.8 billion dollar company and
27
     the leading provider of technology solutions to local, state, and federal public sector agencies
28
     using a “Low-code platform allowing for rapid deployment of new technologies and services.”
     “Low-code” simply means they use elements such as those offered by AWS to build software

                                                     9
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1    platforms rather than having to know how to code or having to write the code software program
2    itself. In or about 2016, the State Bar accepted the bid from Tyler Technologies to build out a
3    case management system called Odyssey for the OCTC, State Bar Court and Office of
4    Probation although that bid was nearly $1 million more than the bid from its competitor, thus
5    having the ability to profitably raise prices above those that would be charged in a competitive
6    market. [FAC ¶ 88-89] Tyler Technologies had market power in the public sector by 2021,
7    when Defendant Tyler Technologies acquired NIC the leading provider of digital services to
8    state and federal government agencies, making Tyler Technologies the dominant technology
9    provider to public agencies in the United States. Many of the business leaders come from the
10   public sector.” [FAC ¶ 90]
11                 b. An Overt Act in Furtherance of the Conspiracy
12          An overt act in furtherance of the conspiracy to violate the rights of the State Bar
13   member plaintiffs was alleged in para. 91-92 of the FAC incorporating FAC ¶8, 12, 16, 17, 22,
14   25, 34-36.
15                 c. Specific Intent to Monopolize
16          To allege specific intent to monopolize, a sufficient allegation is one that asserts the
17   defendants intended to destroy competition.
18          The FAC alleges “[t]he State Bar of California bought and installed Tyler Technologies

19   Odyssey case management system for approximately $5 million in 2019. Defendants, Tyler

20   Technologies, and the State Bar of California and Does 4 to 10 have violated Section 2 of the

21   Sherman Act by attempting to monopolize to the injury of the Attorney members plaintiffs and

22   the class.” [FAC ¶83-84]

23          “Defendant Tyler Technologies chose to act with the State Bar violating the rights of the

24   plaintiffs and the class members.” [FAC ¶ 94]

25          Defendant asserts that “First, Plaintiffs have failed to properly plead a relevant market.”

26
     (Mot. Pg. 11). The FAC alleges “the market in this case is comprised of the approximately
     250,000 members of the California State Bar.” [FAC ¶85].
27
                   d. Causal Antitrust Injury
28
            Defendant also asserts that “Plaintiffs have failed to plead an antitrust injury.” (Mot. Pg.
     13). Defendant argues that “impacts on certain individual attorneys because clients might avoid
                                                     10
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1    hiring attorneys with disciplinary complaints. (See, e.g., FAC ¶ 99.) This allegation does not
2    rise to the level of an antitrust injury.” (Mot. Pg. 14).
3           The Ninth Circuit has identified four requirements for an antitrust injury: (1)
4
            unlawful conduct, (2) causing an injury to the plaintiff, (3) that flows from that
            which makes the conduct unlawful, and (4) that is of the type the antitrust laws
5           were intended to prevent. Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal.,190 F.3d
            1051, 1055 (9th Cir. 1999).
6
7           Manwin Licensing International S.A.R.L. v. ICM Registry, LLC (C.D. Cal., Aug.
            14, 2012, 2:11-cv-09514-PSG-(JCG)) [pp. 1]
8
9           Defendants next assert “the Roe Plaintiffs have failed to sufficiently allege actionable
10   anticompetitive activity by Tyler.” (Mot. Pg. 13).
11          Here, the FAC has sufficiently alleged the antitrust injury was born out of unlawful
12   conduct. “As a result, the breach only concerned attorneys that the State Bar chose to

13   investigate for disciplinary actions; plaintiffs allege that the State Bar Board’s failure to act was

14   due to anticompetitive animus. As a direct and proximate result, Tyler Technologies and the

15   State Bar of California joined in anticompetitive behavior which benefited lawyers who did not

16   have confidential disciplinary records in the State Bar Odyssey case management system. This

17   interfered with trade and the economic competition amongst the attorneys of the State Bar of

18   California. By exposing confidential records online and then not giving the plaintiffs or class

19   the information required by law so that they could mitigate their fears or exposure, the

20   Defendants’ conduct, and each of them, is akin to pernicious monopolistic behavior no less

21
     harmful than if they had published sham litigation shaming the attorneys to drive out
     competitors.” [FAC ¶ 94-98]
22
            Publication of confidential disciplinary complaints (1) unreasonably restricts competition
23
     in the legal profession because potential clients are advised to avoid attorneys who have been
24
     disciplined or are being investigated for alleged unethical conduct; and (2) unreasonably
25
     restricts access to justice or legal representation for the complainants because attorneys are
26
     advised to avoid clients who have had multiple attorneys or attorneys that have been
27
     disciplined. [FAC ¶99]
28
            These same factual allegations support a claim for attempted monopolization, too,
     incorporating FAC ¶8, 12, 16, 17, 22, 25, 34-36. Prior to the data breach, the State Bar was
                                                     11
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1    already set up to allow decisionmakers in the State Bar and those outside of the process to
2    destroy competing members through the disciplinary process. This could be achieved in many
3    ways, including but not limited to, conditioning reinstatement on a payment that the member
4    had no financial means to pay, or making false complaints outside the system. This
5    discriminatory conduct stifles competition and restricts equal access to the courts for consumers
6    and litigants of limited means while also evading violating the excessive fines clause of the
7    Eighth Amendment because such “and until” conditions allow the State Bar to impose a
8    discipline akin to disbarment indirectly based on the attorney’s lack of wealth which it could not
9    impose directly, based on the alleged violation. [FAC ¶ 101-102]
10          2. The Professions are Included as Trade or Commerce
11          In 1975, the U.S. Supreme Court found that the professions (such as medicine and law)
12   are included in the term “trade or commerce” and thus subject to Antitrust laws of the United
13   States. Goldfarb v. Virginia State Bar (1975) 421 U.S. 773 [44 L.Ed.2d 572, 95 S.Ct. 2004].
14   The California Supreme Court soon followed thereafter in the case of Cianci v. Superior
15   Court (1985) 40 Cal.3d 903, 920. The Cianci v. Superior Court (1985) 40 Cal.3d 903, 920
16   Court found that the Cartwright Act applied to all professions and rejected its prior holding in
17   Willis v. Santa Ana etc. Hospital Assn. (1962) 58 Cal.2d 806.
18          Like the IPA in data breach cases, “[c]onsumer welfare is a principal, if not the sole, goal

19   of antitrust laws.” Cianci v. Superior Court (1985) 40 Cal.3d 903, 920 citing, Marin County Bd.

20   of Realtors, Inc. v. Palsson, supra,16 Cal.3d at p. 935; see, e.g., National Soc. of Professional

21   Engineers v. U.S. (1978) 435 U.S. 679, 686-696 [55 L.Ed.2d 637, 646-653, 98 S.Ct. 1355].

22   Antitrust Violation –
            D. Antitrust Violation of the Sherman Act § 3 Was Sufficiently Pled under FRCP
23
               8(a)
24
            Finally, Defendant argues that the Sherman Act § 3 cause of action must be dismissed
25
     because this case is not venued in D.C. (Mot. Pg. 14). 15 USC § 3.
26
            Sherman Act § 3 violation is just a Sherman Act § 1 violation that extends to all
27
     territories of the United States including D.C. It is not a basis to dismiss the pleading because it
28
     meets FRCP 8(a) standards. 15 USC § 1.
            Section 1 of the Sherman Act prohibits "[e]very contract, combination in the form
            of trust or otherwise, or conspiracy, in restraint of trade or commerce among the
                                                     12
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1           several States." 15 U.S.C. § 1. This Court has long recognized that, "[i]n view of
2           the common law and the law in this country" when the Sherman Act was passed,
            the phrase "restraint of trade" is best read to mean "undue restraint." Standard Oil
3           Co. of N.J. v. United States,221 U.S. 1, 59–60, 31 S.Ct. 502, 55 L.Ed. 619 (1911).
4
            This Court's precedents have thus understood § 1"to outlaw
            only unreasonable restraints." State Oil Co. v. Khan,522 U.S. 3, 10, 118 S.Ct.
5           275, 139 L.Ed.2d 199 (1997) (emphasis added).
6
            Ohio v. Am. Express Co. (2018) 138 S. Ct. 2274, 2283
7
            The cause of action meets the FRCP 8a standard. As explained in Bell Atl. Corp. v.
8
     Twombly (2007) 550 U.S. 544, 597 which reviewed a motion to dismiss a Sherman Act § 1
9
     claim that repeated the elements without any supporting facts, “the complaint here furnishes no
10
     clue as to which of the four ILECs (much less which of their employees) supposedly agreed, or
11
     when and where the illicit agreement took place. ”
12
            Here, the plaintiffs alleged what Tyler Technologies and the State Bar agreed upon and
13
     when their illicit agreement took place. As such, the pleading meets the Bell Atl. Corp. v
14
     Twombly standard.
15
            In applying these general standards to a § 1 claim, we hold that stating such a
16          claim requires a complaint with enough factual matter (taken as true) to suggest
17          that an agreement was made. Asking for plausible grounds to infer an agreement
            does not impose a probability requirement at the pleading stage; it simply calls for
18          enough fact to raise a reasonable expectation that discovery will reveal evidence of
19          illegal agreement.4 And, of course, a well-pleaded complaint may proceed even if
            it strikes a savvy judge that actual proof of those facts is improbable, and "that a
20          recovery is very remote and unlikely." Ibid.
21
            Bell Atl. Corp. v. Twombly (2007) 550 U.S. 544, 556
22
            “Hence, when allegations of parallel conduct are set out in order to make a § 1 claim,
23
     they must be placed in a context that raises a suggestion of a preceding agreement, not merely
24
     parallel conduct that could just as well be independent action.” Bell Atl. Corp. v.
25
     Twombly (2007) 550 U.S. 544, 557
26
            ("[T]erms like 'conspiracy,' or even 'agreement,' are border-line: they might well
27          be sufficient in conjunction with a more specific allegation--for example,
28          identifying a written agreement or even a basis for inferring a tacit agreement, . . .
            but a court is not required to accept such terms as a sufficient basis for a
            complaint").

                                                     13
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1           Bell Atl. Corp. v. Twombly (2007) 550 U.S. 544, 557
2
            “[W]e do not require heightened fact pleading of specifics [to prove a prima facie case
3
     at trial], but only enough facts to state a claim to relief that is plausible on its face. ” Bell Atl.
4
     Corp. v. Twombly (2007) 550 U.S. 544, 570. [emphasis added].
5
            “[T]he essence of any violation of § 1 is the illegal agreement itself — rather than the
6
     overt acts performed in furtherance of it, see United States v. Kissel, 218 U.S. 601 (1910)
7
     — proper analysis focuses not upon actual consequences, but rather upon the potential harm
8
     that would ensue if the conspiracy were successful. As we explained in McLain v. Real Estate
9    Bd. of New Orleans, Inc., 444 U.S. 232 (1980): “A violation may [] be found [] in a civil action
10   under the Sherman Act, [] by proof of either an unlawful purpose or an anticompetitive
11   effect. United States v. United States Gypsum Co., 438 U.S. 422, 436, n. 13 (1978);
12   see United States v. Container Corp., 393 U.S. 333, 337 (1969); United States v. National Assn.
13   of Real Estate Boards, 339 U.S. 485, 489 (1950); United States v. Socony-Vacuum Oil Co.,
14   supra, at 224-225, n. 59." Id., at 243. Plaintiffs “need not allege, or prove, an actual effect on
15   interstate commerce to support federal jurisdiction.” Summit Health, Ltd. v. Pinhas (1991) 500
16   U.S. 322, 330-31.
17          Like Summitt Health, Ltd, “the case is necessarily more significant than the fate of "just
18   one [attorney] whose business is so small that his destruction makes little difference to the
19   economy." [citation]. The case involves an alleged restraint on the practice of [legal] services.
20   The restraint was accomplished by an alleged misuse of a [State Bar] process, which [is] the
21   gateway that controls access to the market for [legal] services. [] The competitive significance
22   of respondent's exclusion from the market must be measured not just by a particularized
23   evaluation of his own practice, but rather by a general evaluation of the impact of the restraint
24   on other participants and potential participants in the market from which he has been excluded.”
25   Summit Health, Ltd. v. Pinhas (1991) 500 U.S. 322, 332
26          Like Summitt Health, the FAC alleges that the State Bar “conspired with others to abuse
27   that process” which was unlawful under the IPA and Business & Professions Code in California
28   to support a cause of action under the Sherman Act. Summit Health, Ltd. v. Pinhas (1991) 500
     U.S. 322, 333. [FAC ¶106-111]

                                                     14
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1           In, United States v. Real Estate Boards (1950) 339 U.S. 485, 490, the U.S. Supreme
2    Court found that controlling a market by suppression of competition, even by a Real Estate
3    Board through price fixing was illegal.
4           The end sought by the Act was prevention of restraints to free competition in
            business and commercial transactions which tend to restrict production, raise
5
            prices or otherwise control the market to the detriment of purchasers or consumers
6           of goods and services, all of which had come to be regarded as a special form of
            public injury.
7
8           Apex Hosiery Co. v. Leader (1940) 310 U.S. 469, 470-71
9           The State Bar is basically allocating consumers (clients) amongst businesses (lawyers)
10   who should be competing for them by giving or allowing a Scarlet Letter to appear due to the
11   data breach.
12          The State Bar also has been doing this even before the data breach by taking a slap on the
13   wrist and then excluding qualified attorneys from reentering the membership by using the “and
14   until” clauses and creating a financial barrier to re-entry into the marketplace of law.
15          “The fact that no interstate commerce is involved is not a barrier to this suit. Section 3 of
16   the Sherman Act is not leveled at interstate activities alone.” United States v. Real Estate
17   Boards (1950) 339 U.S. 485, 488
18          “The core of the case is the charge that the members of the Washington Real Estate
19   Board combined and conspired to fix the commission rates for their services when acting as
20   brokers in the sale, exchange, lease and management of real property in the District of
21   Columbia.” United States v. Real Estate Boards (1950) 339 U.S. 485, 487
22          Alternatively, the facts support a common law claim as laid down in Willis v Santa Ana
23   Community Hospital.
24          There is an established principle at common law that an action will lie where the
            right to pursue a lawful business, calling, trade, or occupation is intentionally
25
            interfered with either by unlawful means or by means otherwise lawful when there
26          is a lack of sufficient justification. ( Guillory v. Godfrey,134 Cal.App.2d 628,
            632 [ 286 P.2d 474]; Masoni v. Board ofTrade of S.F.,119 Cal.App.2d 738,
27
            741 [ 260 P.2d 205]; see Rest., Torts, § 766, cl. (b);
28          cf. Lipman v. BrisbaneElementary Sch. Dist.,55 Cal.2d 224, 232 [ 11 Cal.Rptr.
            97, 359 P.2d 465].) [4] Whether there is justification is determined not by
            applying precise standards but by balancing, in the light of all the circumstances,

                                                     15
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1              the respective importance to society and the parties of protecting the activities
2              interfered with on the one hand and permitting the interference on the other.

3              Willis v. Santa Ana Community Hospital Ass'n (1962) 58 Cal.2d 806, 810
4
               Like the case of Willis which was an antitrust action under Section 3 of the Sherman Act,
5
     State Bar member plaintiffs (lawyers) who had confidential records maintained by the State Bar
6
     about them disseminated onto a public website that questioned their conduct or qualifications
7    when in truth those members conduct were of the highest order, the plaintiff State Bar members
8    also should have the courtroom doors open to them to seek redress just like the doctors in
9    Willis.
10             E. Negligence Is Sufficiently Pled under FRCP 8(a)
11         The elements to plead Negligence are duty, breach, causation, and damages. (Ladd v.
12   County of San Mateo (1996) 12 Cal.4th 913, 917). Courts in this circuit have generally applied
13   this principle. (See, Schmitt v. SN Servicing Corp. (N.D. Cal., Nov. 12, 2021, 21-cv-03355-
14   WHO) [pp. 11] “To state a claim for negligence in California, a plaintiff must show duty,
15   breach, causation, and damages. Conroy v. Regents of Univ. of Cal., 45 Cal.4th 1244,
16   1250 (2009).”).
17      1. Element 1 – Duty
18            a. General Duty to Use Reasonable Care

19             The first element to allege a claim of negligence is duty. Civil Code section 1714(a)
20   imparts a duty upon all people to use due care. “The first element, duty, ‘may [also] be imposed
21   by law, be assumed by the defendant, or exist by virtue of a special relationship.’ ” (Doe v.
22   United States Youth Soccer Assn., Inc. (2017) 8 Cal.App.5th 1118, 1128.)
23             Defendant asserts, “First, the Roe Plaintiffs have not sufficiently alleged that Tyler owed
24   a duty directly to Roe Plaintiffs. [Mot. Pg. 15] In federal court, notice pleading under FRCP 8a
25   suffices. The FAC adequately alleges “Defendant Tyler Technologies voluntarily undertook to
26   take responsibility for one or more of their Co-defendant’s duties and/or owed the Plaintiffs and
27   all members of all Classes a general duty of care when securing the confidential disciplinary
28   records so it could not be accessed through the portal. Defendant State Bar of California, Rick
     Rankin and Tyler Technologies breached that duty by failing to (1) provide reasonable notice of
     the breach; (2) provide the plaintiffs and members steps to take to protect themselves; (3)
                                                     16
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1    institute proper security measures to keep the information confidential; (4) secure the portal
2    and/or (5) maintain proper security measures to ensure the information remained confidential.”
3    [FAC ¶115-116] As such, duty and breach were adequately alleged.
4           As the vendor of Odyssey Tyler owed plaintiffs a duty to install a system with security
5    measures to keep the information confidential is laid out in the IPA at Cal Civ Code § 1798.21
6    and inferred in the Cal Const. Art 1 Sect. 1. (“Each agency shall establish appropriate and
7    reasonable administrative, technical, and physical safeguards” Civ. Code § 1798.21).
8           Finally, the duty to maintain proper security measures to ensure the information
9    remained confidential is also laid out in the IPA at Cal Civ Code § 1798.21.
10          Plaintiff also incorporated the allegations that Defendants violated the State Bar Act and
11   State Bar Rules of Procedure. [FAC ¶ 13-15, 121]
12          Plaintiff incorporates the legal analysis on special relationships and personal information
13   (PI) from the Opposition to Rick Rankin’s motion to dismiss as though fully laid out herein.
14          In sum, the relations between the parties related to State Bar membership services as
15   either a member attorney or a complainant seeking assistance from the State Bar’s disciplinary
16   process. Plaintiffs were required to turn over their personal information (PI) to Defendants and
17   did so with the understanding that Defendants would adequately protect Plaintiffs' PI and
18   inform Plaintiffs of breaches. FAC ¶ 115-116. Second, it was plainly foreseeable that Plaintiffs

19   would suffer injury if Defendants did not adequately protect the PI. Third, the FAC asserts that

20   others, including but not limited to Kevan Schwitzer, were able to gain access to the PI and that

21   Defendants did not promptly notify Plaintiffs, thereby causing injury to Plaintiffs. [FAC ¶ 6-8,

22   41, 91, 114-119]. Fourth, the injury was allegedly suffered exactly because Defendants provided

23   inadequate security and knew that their system was insufficient. Id. [FAC ¶ 33, 34, 38, 41, 115,

24   117 ]. Fifth, Defendants are morally culpable, given their repeated security breaches, wholly

25   inadequate safeguards, and refusal to notify Plaintiffs ... of breaches or security vulnerabilities."

26
     Sixth, and finally, Defendants' concealment of their knowledge and failure to adequately protect
     Plaintiffs' PI implicates the consumer data protection concerns expressed in California statutes
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     as noted throughout this brief. Similar concerns have justified data breach cases when private
28
     companies are sued. See, In re Adobe Sys. , 66 F.Supp.3d at 1227. (Almost verbatim from In re


                                                     17
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1    Yahoo! Inc. Customer Data Sec. Breach Litig. (N.D. Cal. 2018) 313 F. Supp. 3d 1113, 1132-
2    33).
3           As such, this Court should find a duty was adequately alleged.
4       2. Element 2 – Breach
5           The second element of negligence is breach. “Breach is the failure to meet the standard
6    of care.” (Coyle v. Historic Mission Inn Corp. (2018) 24 Cal.App.5th 627, 643.) Plaintiff
7    sufficiently alleged Defendant breached the duty of care in para 117 of the FAC.
8       3. Element 3 – Causation
9           The third element of negligence is causation. “The element of causation requires there to
10   be a connection between the defendant’s breach and the plaintiff’s injury.” (Coyle, supra, 24
11   Cal.App.5th at p. 645.) Plaintiff sufficiently alleged causation in para. 118-119.
12      4. Element 4 – Damages
13           The fourth element of negligence is damages. Plaintiffs and the class have alleged
14    emotional distress.
15          Tyler also asserts “Here, the Roe Plaintiffs have alleged only speculative injuries without
16   any specific details.” [Mot. Pg. 15]
17          In Drew v. Equifax Info. Servs., LLC, for example, the plaintiff “and his
            psychological expert explained how the identity theft caused Drew grave post-
18          traumatic stress due to his weakened condition and his continued association with
19          the fraudulent accounts exacerbated his condition.” Drew, 690 F.3d [1100, 1109
            (9th Cir. 2012)]. This is more specific than any of the allegations in Sion's FAC.
20          The same distinction can be drawn with Guimond v. Trans Union Credit Info. Co.,
21          where the plaintiff alleged that she suffered “emotional distress , manifested by
            sleeplessness, nervousness, frustration, and mental anguish resulting from the
22          incorrect information in her credit report.” 45 F.3d 1329, 1332 (9th Cir. 1995).
23          Neither case stands for the proposition that a bald assertion of emotional
            distress suffices to show actual damages.
24
            Samia v. Experian Info. Sols. (S.D. Cal., Feb. 1, 2022, 21-cv-1015 W (WVG)) [pp.
25
            5]
26
            Like Guimond v. Trans Union Credit Info. Co., the plaintiffs in this State Bar data breach
27
     action alleged their emotional distress was “due to the delay and failure to notify, including but
28
     not limited to, fear, anxiety, paranoia, shame, loss of sleep, depression, and spending time and


                                                     18
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1    expense trying to figure out what they could do to protect themselves, their reputation and/or
2    their health wellbeing.” [FAC ¶119]
3           Consequently, this Court should find that the cause of action for negligence has been
4    sufficiently pled under FRCP 8a.
5           F. Negligence per se is a Type of Negligence
6           Defendant’s request to dismiss the negligence per se claim is baseless. The elements to
7    plead Negligence per se are the same as negligence except instead of a general duty or special
8    relationship, a duty is implied from a law and if broken, breach is established. “Although
9    compliance with the law does not prove the absence of negligence, violation of the law does
10   raise a presumption that the violator was negligent. This is called negligence per se.” Jacobs
11   Farm/Del Cabo, Inc. v. Western Farm Service, Inc. (2010) 190 Cal.App.4th 1502, 1526.
12          ‘The negligence per se doctrine is codified in Evidence Code section
            669,subdivision (a), under which negligence is presumed if the plaintiff establishes
13          four elements: (1) the defendant violated a statute, ordinance, or regulation; (2) the
14          violation proximately caused death or injury to person or property; (3) the death or
            injury resulted from an occurrence the nature of which the statute, ordinance, or
15          regulation was designed to prevent; and (4) the person suffering the death or the
16          injury to his person or property was one of the class of persons for whose
            protection the statute, ordinance, or regulation was adopted.’ ‘The burden is on the
17          proponent of a negligence per se instruction to demonstrate that these elements are
18          met.’

19          Taulbee v. EJ Distribution Corp. (2019) 35 Cal.App.5th 590, 596, internal citations
20          omitted.

21
            Defendant argues “because Tyler has not violated any statute, including the California
22
     Constitution, the Roe Plaintiffs’ negligence per se claim fails for this reason as well.” [Mot. Pg.
23
     16]. Here, the FAC sufficiently alleged defendant violated the IPA and Cal Constitution (“Cal.
24
     Civ. Code §§ 1798.21, 1798.24, 1798.29, 1798.53 and/or Cal Const Art. 1 § 1”) of which
25
     plaintiffs were members of a protected class. 1 [FAC ¶ 126-127] (See also, Cal. Bus & Prof
26
27
28
     1
      Cal. Civ. Code §1798.24 (“an agency shall not disclose any personal information in a manner
     that would link the information disclosed to the individual to whom it pertains ” Civ. Code, §
     1798.24).
                                                     19
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1    Code § 6060.2(a), Cal. Bus. & Prof. Code § 6086.1(b), Cal. Bus & Prof. Code § 6090.6, Cal.
2    Bus. & Prof. Code § 6168, Cal. Bus & Prof. Code § 6200, Cal. Bus. & Prof. Code § 6234).
3              Plaintiff also incorporated the allegations that Defendants violated the State Bar Act and
4    State Bar Rules of Procedure. [FAC ¶ 13-15, 121] All of which caused injury to the plaintiffs by
5    way of a data breach of their confidential information which resulted in injury from an
6    occurrent, the nature of which the IPA, State Bar Act and State Bar Rules of Procedure were
7    designed to prevent. [FAC ¶128].
8              It is an alternative to a general duty of care or special relationship and the label whether
9    “negligence per se” or “negligence” is irrelevant because labels of causes of action give way to
10   the substance of the claim. FRCP 8(a). It is a separate alternate basis for liability wherein a
11   separate CACI instruction will be given as such, there is no reason to dismiss the cause of
12   action. “To survive a motion to dismiss , a plaintiff must plead "only enough facts to state a
13   claim to relief that is plausible on its face." Bell Atl. Corp. v. Twombly, 550 U.S. 544,
14   570 (2007).” Gilliland v. Chase Home Fin., LLC (E.D. Cal., May 13, 2015, No. 2:14-cv-2834
15   JAM AC) [pp. 6] Defendant did not file a motion to strike “per se” from the label after
16   “negligence” which is the only proper resolution, if being so technical were required under
17   FRCP 8a.
18             Their argument that there is no such thing as negligence as per se as a separate tort

19   misses the point. (Mot. Pg. 16). There is nothing to bar two separate causes of action for

20   negligence. All elements for negligence are properly pleaded in this claim and Defendant does

21   not even argue otherwise.

22             Consequently, this Court should not dismiss the seventh cause of action for negligence

23   per se.

24
25
            Cal. Civ. Code § 1798.53 (Any person, other than an employee of the state or of a local
26   government agency acting solely in his or her official capacity, who intentionally discloses
27   information, not otherwise public, which they know or should reasonably know was obtained
     from personal information maintained by a state agency or from "records" within a "system of
28   records" (as these terms are defined in the Federal Privacy Act of 1974 ( P. L. 93-579; 5 U.S.C.
     552a)) maintained by a federal government agency, shall be subject to a civil action, for
     invasion of privacy, by the individual to whom the information pertains.” Civ. Code, §
     1798.53).
                                                     20
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1           G. Anonymous Pleading is Allowed
2           In footnote 3 on page 8 of the Motion, Tyler mentions that the Roe plaintiffs are
3    anonymous. However, the Ninth Circuit allows the use of pseudonyms by parties when the
4    issue of right to privacy exists. See, United States v. Doe, 655 F.2d 920, 922n. (9th Cir. 1981).
5    Tyler gives no legal authority to show it can have the pleading dismissed on this basis.
6           The decision whether to permit the use of fictitious names is left to the discretion of the
7    trial court. The plaintiffs should be left anonymous because the records at issue were supposed
8    to be confidential and so impugn a person’s reputation that it is hard to ever come back from. A
9    separate motion for protective Order was filed and would have been ruled upon before the
10   motion to dismiss but for the transfer of the case to a new judge. As such, plaintiff refers this
11   Court to the motion and joins in the motion as part of this opposition.
12          H. Leave to Amend
13          If the Court concludes that a motion to dismiss should be granted, it must then
            decide whether to grant leave to amend. Under Rule 15(a) of the Federal Rules of
14          Civil Procedure, leave to amend "shall be freely given when justice so requires,"
15          bearing in mind "the underlying purpose of Rule 15... [is] to facilitate decision on
            the merits, rather than on the pleadings or technicalities."
16
17          In re Yahoo! Inc. Customer Data Sec. Breach Litig. (N.D. Cal. 2018) 313 F. Supp.
            3d 1113, 1127 (FRCP 15(a)).
18
19          Plaintiff requests leave to amend if the Court is declined to dismiss on any basis provided

20   by the Defendant because such dismissal would be a mere technicality that Plaintiff will be able

21
     to correct.
                                          IV.     CONCLUSION
22
            Wherefore plaintiff respectfully requests this Court deny Defendant Tyler Technologies’
23
     motion dismiss and Order the Defendant to Answer the First Amended Complaint.
24
     Dated: July 6, 2022                        Respectfully Submitted,
25
                                                LAW OFFICES OF LENORE ALBERT
26                                              /s/ Lenore Albert______________________
                                                LENORE L. ALBERT, ESQ.
27
                                                Attorney for Plaintiffs, John Roe 1, Jane Roe 1, Jane
28                                              Roe 2, Jane Roe 3, and John Roe 2, on behalf of
                                                themselves and all others similarly situated


                                                     21
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1                              PROOF OF SERVICE OF DOCUMENT
2
3    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
4    business address is: 1968 S Coast Hwy #3960, Laguna Beach, CA 92651
     A true and correct copy of the foregoing document entitled:
5
     PLAINTIFFS’ OPPOSITION TO DEFENDANT TYLER TECHNOLOGIES’ MOTION
6    TO DISMISS
7    will be served or was served (a) on the judge in chambers in the form and manner required by
     LBR; and (b) in the manner stated below:
8
9    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
     TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
10   F.R.Civ.P. on 07-06-2022, I served the following persons and/or entities ECF or email as
11   follows:

12   X Service information continued on attached page
13   I declare under penalty of perjury under the laws of the United States that the foregoing is true
     and correct.
14
15     07-06-2022             James D. Ocon                         /s/James D. Ocon

16     Date                 Printed Name                            Signature

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